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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

        Plaintiff,

v.                                              CASE NO.: 1:06-CR-005-SPM

CAROLINE PARRA,

     Defendant.
________________________________/

     ORDER OF REFERENCE FOR PLEA PROCEEDINGS BEFORE A UNITED
                    STATES MAGISTRATE JUDGE

        The Court has been informed that the defendant in the above-styled case,

Caroline Parra, wishes to enter a guilty plea and consents to having the guilty

plea proceedings conducted by a United States Magistrate Judge. Pursuant to

the provisions of 28 U.S.C. § 636(b)(3) and N.D. Fla. Loc. R. 72.3, it is hereby

        ORDERED AND ADJUDGED that the above-captioned criminal case be

referred to the Honorable Allan Kornblum, United States Magistrate Judge, to

conduct all of the proceedings required by Rule 11 of the Federal Rules of

Criminal Procedure incident to a guilty plea and to make a recommendation to

the District Judge concerning acceptance or rejection of the guilty plea.

        DONE AND ORDERED this twenty-fourth day of April, 2006.


                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge

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